                          UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

    FARHAD AZIMA,

                             Plaintiff,

    v.                                                   CASE NO. 1:20-cv-00954-WO-JLW

    NICHOLAS DEL ROSSO and VITAL
    MANAGEMENT SERVICES, INC.,

                             Defendants.


                Memorandum in Support of Defendants’ Motion for Entry of
                          Confidentiality Protective Order

               NOW COME Defendants Nicholas Del Rosso (“Del Rosso”) and Vital

Management Services, Inc. (“VMS”) (collectively, “Defendants”), and, pursuant to

Rule 26 of the Federal Rules of Civil Procedure (“Rule(s)”) and Local Rule (“LR”) 26.2,

hereby submit the following brief in support of their Motion for Entry of

Confidentiality Protective Order (the “Motion”).

         I.       BACKGROUND

               This lawsuit arises out of Plaintiff Farhad Azima’s (“Plaintiff”) allegations –

which Defendants strenuously deny – that Defendants’ engagement with an

international law firm included assisting with the hacking and leaking of Plaintiff’s

confidential and personal business information. (D.E. 1.)1 As such, the Parties in this


1 On December 10, 2021, the Court granted Defendants’ Rule 12(b)(6) motion and dismissed Counts I,
II, III, IV, V, VI, VII, IX, and XI of Plaintiff’s Complaint. (D.E. 65.) The Court permitted Plaintiff’s to
pursue part of their Count VIII for Misappropriation of Trade Secrets under North Carolina Law and
Count X for a related Civil Conspiracy under North Carolina Law, but held that all claims are “limited
to the 2018-2019 conduct – the only allegations that are not time-barred.” (Id. pp.23–24.) Defendants
have denied the allegations in Plaintiff’s Complaint and contend that Plaintiff and his agents have
and continue to use stolen confidential financial information to create false narratives and allegations
concerning Defendants and other third parties. (D.E. 86.)




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case have an interest in obtaining, by formal discovery, information and

documentation which may be considered confidential and sensitive business

information warranting protection from dissemination and disclosure.

       Accordingly, on November 1, 2022, during the Parties’ Rule 26(f) conference,

counsel for the Parties agreed that a confidentiality protective order (“protective

order”) would be warranted to govern the handling and disclosure of confidential

information.     This agreement was reflected in the Court’s November 16, 2022

Scheduling Order, where the Court acknowledged that “[t]he parties have agreed that

a protective order shall be entered before any confidential information is disclosed.”

(D.E. 93, at p. 3; see also Plaintiff’s Proposed Discovery Plan, D.E. 91, at p. 6 (“The

parties will agree upon a protective order before any confidential information is

disclosed.”)).

       On November 18, 2022, Defendants provided Plaintiff’s counsel with a

proposed two-tiered protective order to govern the use and handling of confidential

and sensitive documents and information.

       On November 21, 2022, Plaintiff agreed via email to treat documents that had

already been produced by a third-party financial institution “as confidential pending

negotiations and entry of a protective order.”        Further, counsel for Plaintiff

represented that they were “reviewing the draft protective order [that counsel for

Defendants] sent over and will work to get the issues related to that resolved

promptly.”




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      However, on December 2, 2022, Plaintiff’s counsel stated via email that “we

are not sure that a blanket [protective] order is needed for this matter” and that “[w]e

are willing to consider a protective order on a production-by-production bases if you

can articulate a basis for one.”

      After several further email exchanges debating this issue, Defendants

proactively arranged for a teleconference between the Parties, held on December 7,

2022, and attended by John Branch and Matt Gorga for Defendants, and Ripley Rand,

Chris Jones, and Kirby Behre for Plaintiff.

      The teleconference resulted in Defendants taking the position that a two-tiered

protective order should be entered substantively in the form of the proposed

protective order circulated by Defendants on November 18, 2022, and Plaintiff taking

the position that, inter alia, while Plaintiff is not unwilling to the entry of an

appropriately scoped protective order, Defendants should first provide Plaintiff with

additional details regarding the documents and information in Defendants’

possession that it believes will necessitate a protective order, especially a two-tiered

protected order containing an “attorneys eyes only” designation. Further, Plaintiff

expressed its concern that, if a blanket protective order is entered in this matter,

Defendants will improperly designate everything as confidential.

      Unwilling to allow Plaintiff to hold any agreement to a protective order hostage

in an effort to obtain information about Defendants’ confidential documents and

information, Defendants ultimately stated their intentions to independently seek the

Court’s entry of their proposed two-tiered protective order.



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      Nevertheless, on December 9, 2022, after several more email communications

between the Parties on this issue, counsel for Plaintiff emailed Defendants’ counsel

with an attached proposed single-tiered protective order, stating “please find attached

our proposed protective order draft” and requesting that Defendants “review and let

[Plaintiff] know to the extent that [Defendants] would like to talk about it.” A true

and accurate copy of Plaintiff’s proposed protective order is attached to the Motion as

Exhibit B.

      On December 15, 2022, counsel for Defendants sent a revised version of their

proposed two-tiered protective order which attempted to accommodate some of the

differences reflected in Plaintiff’s proposed single-tiered protective order.

      On December 16, 2022, counsel for Plaintiff stated, inter alia, their position

that “the parties have met and conferred on this topic to a far greater degree than

contemplated by the rules, we are at an impasse, [and] we do not believe that a

protective order is necessary, do not know why one would be, and do not intend to

move for entry of one.” Nevertheless, Plaintiff’s counsel stated, “[i]f your client is

willing to execute a version of the protective order that we provided—which we

assume is not the case—then please send any proposed redline versions to that

version (so long as they do not shift the burdens associated with the protective order).”

      On December 21, 2022, Defendants’ counsel emailed counsel for Plaintiff,

stating, inter alia, “Plaintiff’s primary opposition to the protective order we proposed

is centered around the ‘two-tiered’ protection it provides” and “[a]s our final effort to

compromise, we propose removing the ‘Attorney Eyes Only’ protection category from



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the protective order we proposed, but leaving the remaining provisions the same.”

Attached to this email was a new version of Defendants’ proposed protective order,

with the “Attorney Eyes Only” designation provisions taken out.

          To date, Plaintiff’s counsel has not responded to Defendants’ newly proposed

single-tiered protective order. Discovery in this matter has already commenced, and,

as set forth more fully below, discovery will likely involve—and has likely already

involved—Defendants’          private     and    confidential     information.         Accordingly,

Defendants move this Court for entry of their proposed protective order, in the

substance of that attached to the Motion as Exhibit A.


    II.      LEGAL STANDARD

          Rule 26(c) provides a mechanism, available in appropriate cases, to limit the

dissemination of certain private or confidential information that may be discoverable

under the Federal Rules of Civil Procedure.2 Upon a showing of good cause and as

justice may require “to protect a party or person from annoyance, embarrassment,

oppression, or undue burden or expense,” a court may, amongst other things, enter a

protective order “forbidding the disclosure or discovery,” “forbidding inquiry into

certain matters or limiting the scope of disclosure or discovery to certain matters,” or

“requiring that a trade secret or other confidential research, development, or




2 “Although [Rule 26(c)] contains no specific reference to privacy or to other rights or interests that
may be implicated, such matters are implicit in the broad purpose and language of the Rule.”
Volumetrics Med. Imaging, LLC v. Toshiba Am. Med. Sys., Inc., 2011 WL 2413404, at *3 n. 2 (M.D.N.C.
June 10, 2011) (alterations in original) (quoting Seattle Times Co. v. Rhinehart, 467 U.S. 20, 35 n. 21
(1984)).

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commercial information not be revealed or be revealed only in a specific way[.]” Fed.

R. Civ. P. 26(c)(1)(A), (D), and (G).

       Further, LR 26.2 provides, in pertinent part, that:

   (a) If a party, or parties jointly, seek entry of a protective order to shield
       information provided in discovery from dissemination, the movant or
       movants must demonstrate with specificity that
           (i) the information qualifies for protection under Rule 26(c) of the
                Federal Rules of Civil Procedure; and
           (ii) good cause exists for restricting dissemination on the ground that
                harm would result from its disclosure.

LR 26.2(a)(i)–(ii).

       Whether to grant or deny a motion for a protective order is generally left within

the district court’s broad discretion. Lone Star Steakhouse & Saloon, Inc. v. Alpha of

Va., Inc., 43 F.3d 922, 929 (4th Cir. 1995).

   III.   ARGUMENT

       As aptly put by another Fourth Circuit court,

       [a]t this juncture, the question before the court is not whether specific
       documents are entitled to protection from public disclosure. The court
       is without sufficient information to answer that question. Instead, the
       question has a slight nuance. The court is asked to decide whether it
       should enter a confidentiality order . . . that would place the burden on
       the parties to designate documents [as protected under the
       confidentiality order] . . . . Thus, the court is not deciding whether the
       documents are confidential or appropriately designated . . . . The parties,
       subject to their Rule 11, FRCP obligations, would make that
       determination in the first instance.

Marlboro Elec. Coop., Inc. v. Cent. Elec. Power Coop., Inc., 2021 WL 5998612, at *3

(D.S.C. May 13, 2021).




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         A. Entry of a Confidentiality Protective Order is Warranted.

         This Court has stated that, to warrant entry of a confidentiality protective

order, “a party must make some threshold showing of good cause to believe that

discovery will involve confidential or protected information. This may be done on a

generalized as opposed to a document-by-document basis.”                   Parkway Gallery

Furniture, Inc. v. Kittinger/Pennsylvania House Grp., Inc., 121 F.R.D. 264, 267–68

(M.D.N.C. 1988) (emphasis added).        Indeed, this Court has acknowledged that

“[c]ourts regularly enter such orders . . . based on a general good cause

determination.” Haas v. Golding Transp. Inc., 2010 WL 1257990, at *5 (M.D.N.C.

Mar. 26, 2010) (cleaned up); Hanesbrands Inc. v. Van Stevenson, 2010 WL 1286669,

at *3 (M.D.N.C. Mar. 29, 2010) (same).

         Here, there is good cause to believe that discovery could involve—and has

likely    already   involved—private   and       confidential   business    information   of

Defendants, and harm will result if this information is not kept confidential.

         First, the allegations in the Complaint concern Defendants’ engagement with

an international law firm, Dechert LLP, during which Plaintiffs allege that

Defendants assisted said law firm with the hacking and leaking of Plaintiff’s

confidential and personal business information, which Plaintiff claims constitute

trade secrets. (See, e.g., D.E. 1, at ¶¶ 101–118). Any discovery produced relating to

Dechert LLP’s client engagements would undoubtedly implicate confidentiality and




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privilege issues, the public disclosure of which absent going through the protective

order process could be irreparably damaging to Defendants and Dechert LLP.3

       Second, Plaintiff’s own proposed discovery plan forecasts discovery into broad

categories of documents and communications spanning back to at least 2014,

including Defendants’ confidential and sensitive financial information and

communications with clients, vendors, subcontractors, and agents, all in an effort to

purportedly uncover Defendants’ alleged role in a “sophisticated global conspiracy

spanning several years and countries[.]” (See D.E. 91, at pp. 3–4). Indeed, Plaintiff

is already in receipt of defendants’ confidential bank records, which “[c]ourts . . . have

recognized . . . can create a high potential to disclose a whole host of irrelevant and

confidential business related information.” Elsayed v. Fam. Fare LLC, 2019 WL

8586708, at *4 (M.D.N.C. Oct. 31, 2019) (cleaned up). Further, Del Rosso is a fraud

examiner, where most—if not all—his work through VMS is performed for clients

pursuant to contractual confidentiality obligations, as this work is, by its nature,

highly sensitive. The public disclosure of such commercially sensitive information

would be damaging to Defendants’ clients as well as to the integrity of Defendants’

business.

       Such concerns are appropriately addressed by a protective order governing the

entirety of discovery in a case. See, e.g., Revak v. Miller, 2020 WL 3513239, at *4

(E.D.N.C. June 29, 2020) (ordering production of bank records where “[plaintiff’s]



3 Indeed, on or around December 19, 2022, Plaintiff served a third-party subpoena to produce
documents on Dechert LLP, and on December 22, 2022, Plaintiff’s counsel indicated via email their
intent to serve a deposition subpoena on Dechert LLP.

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legitimate privacy concerns . . . [were] sufficiently addressed by the protective order

. . . that governs the production of confidential information.”); Hanesbrands Inc., 2010

WL 1286669 at *3 (stating that “blanket protective orders constitute an appropriate

means for dealing with privacy and related concerns” including concerns related to

“commercially-sensitive information”); see also Moore v. Ferguson, 2015 WL 9587748,

at *7 (S.D.W. Va. Dec. 30, 2015) (finding defendant “met its burden of showing good

cause required to demonstrate harm it may suffer from producing confidential

materials in question without a protective order” where disclosure of certain

documents would “violate [ ] confidentiality provisions” with nonparties).

       Moreover, as a result of the Court’s December 10, 2021 Memorandum Opinion

and Order on Defendants’ Motion to Dismiss (D.E. 65) significantly narrowing the

scope of this matter, and in light of Plaintiff’s broad forecasted discovery, entry of a

protective order is further warranted to ensure Plaintiff does not utilize discovery in

this matter for improper purposes, including using this matter as a discovery tool to

prosecute Plaintiff’s claims in other pending cases in different jurisdictions.4

       As to Plaintiffs’ reluctance to the entry of a blanket protective order due to

concerns regarding over-designation, these concerns are unwarranted. In making

“good faith” confidentiality designations under Defendants’ proposed protective

order, the Parties’ are subject to their Rule 11 obligations, and the designating party

bears the burden of establishing the necessity for a confidentiality designation.

Accordingly, as succinctly put by another Fourth Circuit court, “both the


4These actions include Azima, et al. v. Dechert LLP, et al., Case No. 1:22-CV-08728-PGG and Solomon
v. Dechert LLP, et al., Case no. 1:22-CV-03137-JEB.

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Requirements of Rule 11, FRCP and the terms of the confidentiality order serve to

protect Plaintiff from the potential for over designation.” Marlboro Elec. Coop., Inc.,

2021 WL 5998612, at *3 (rejecting plaintiff’s concerns of over-designation pursuant

to defendants’ proposed protective order that provided a process “to challenge

confidential . . . designations” and placed the “burden of proving the necessity of a

Confidential designation . . . [on] the party asserting confidentiality”).

      Therefore, good cause exists for entry of a protective order governing the use

and handling of confidential information in this matter, as harm would result if the

information covered by the protective order were not kept confidential.

      B. Defendants’ Proposed Language Should Be Adopted.

      Should the Court agree that a protective order is warranted in this case,

Defendants request that the language in their proposed protective order, attached as

Exhibit A, be adopted. The notable differences between the Parties’ exchanged draft

protective orders are set forth below:

   Defendants’ Proposed Protective               Plaintiff’s Proposed Protective
            Order (See Ex. A)                             Order (See Ex. B)
 ¶ 1 – Protected Information “shall be        No similar provision governing whether
 used only for the purpose of this Action,    information and documents disclosed in
 and not for any other business,              this case can be used for other purposes..
 competitive, personal, private, public,
 or other use or purpose.”
 ¶ 2 – “The producing party may               ¶ 2 – “A producing party may designate
 designate as “CONFIDENTIAL” any              as “CONFIDENTIAL” any non-public
 Information that it produces in this         information that qualifies as a trade
 Action which it, in good faith, contends     secret, confidential research, or
 contains trade secrets, confidential         development       or      commercial
 research or development, confidential        information, as those terms are used
 commercial information, confidential         in Rule 26(c)(1)(G) of the Federal
 financial information, confidential          Rules of Civil Procedure[.]” (emphasis
 health information, information              added).

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treated as confidential by third
parties, and other personal or
private information whose
disclosure would result in
annoyance, embarrassment,
oppression, or undue burden
pursuant to Rule 26(c) of the
Federal Rules of Civil Procedure[.]”
(emphasis added).
¶ 3 – “If the objection [to a               ¶ 5 – “If a dispute still exists, the
Confidentiality designation] cannot be      designating party shall have 14 days
resolved, the objecting Party may           to file a motion seeking leave to
seek appropriate relief from the            designate the Information as
Court after good faith efforts to resolve   Confidential Information. If no
the dispute have failed or fourteen (14)    motion is timely made, then the
business days after sending of written      disputed designation is considered
notice of the objection, whichever is       withdrawn and the Information shall no
sooner. Until the Court rules on any        longer be considered Confidential
such motion, the document shall be          Information. If a motion is timely filed,
treated as originally designated. The       then the Information designated as
burden of proving that the Information      Confidential Information shall remain so
is properly designated as                   designated until the Court rules on the
‘CONFIDENTIAL’ is on the designating        motion.”
party.” (emphasis added).
¶ 4 – “Any Party may object to the          ¶ 3 – “Information may not be
designation of Information as Protected     designated as Confidential Information
Information on the grounds that such        if it (a) is, or becomes, public knowledge,
Information is lawfully and publicly        as shown by publicly available writings,
available, by way of the procedure          other than through violation of the
outline in Paragraph 3 of this              terms of this Protective Order; (b) is
Protective Order.” (emphasis added).        acquired by a non-designating party or
                                            third-party having no legal obligation to
                                            the designating party to protect such
                                            Information; (c) was lawfully possessed
                                            by a non-designating party, or third-
                                            party having no legal obligation to the
                                            designating party to protect such
                                            Information, prior to the opening of
                                            discovery in this proceeding; or (d) is
                                            disclosed by a non-designating party
                                            with the approval of the designating
                                            party.”
¶ 5 – “[N]o Party may disclose any          No similar provision.
Information received from third parties

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 before such Information has been
 provided to all other Parties and the
 Parties have been given a reasonable
 opportunity to review and designate the
 same.”
 ¶ 6 – “[A]bsent written consent from         ¶ 7 – “Absent written consent from the
 the designating party or unless              designating party or unless otherwise
 otherwise directed by the Court,             directed by the Court, Confidential
 Protected Information may be disclosed       Information may be disclosed only to the
 only to the following persons, provided      following persons . . . .”
 that such persons agree to be bound
 by the terms of this Protective
 Order, and provided that such
 persons only use this Protected
 Information for purposes of this
 Action.” (emphasis added).
 ¶ 14 – “After this Protective Order is       No similar provision.
 entered by the Court, a copy of this
 Protective Order shall be included with
 each subpoena served on any person or
 entity that is not a party to this Action.
 In addition, this Protective Order shall
 be sent to all persons or entities that
 received a subpoena prior to entry of
 this Protective Order.”

      The language in Paragraph 1 of Defendants’ proposed protective order should

be adopted because, as previously discussed, it addresses Defendants’ concern that

Plaintiff will utilize this matter as a discovery tool to prosecute its claims in other

pending cases in other jurisdictions.

      The language in Paragraph 2 of Defendants’ proposed protective order should

be adopted because it reasonably allows information produced in discovery to be

designated confidential if it qualifies for protection under the full scope of Rule 26(c).

Such designations must be made in good faith, where the designating Party is subject

to its Rule 11 obligations.


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      The language in Paragraph 3 of Defendants’ proposed protective order should

be adopted because the objecting party should be the party tasked with determining

whether to bring its objection before the Court, given that any designations must first

be made in “good faith,” subject to Rule 11 obligations. Defendants note that while

this language does shift the burden to the non-designating party to file a motion, the

burden of establishing confidentiality remains with the designating party.

Accordingly, this language is fair and reasonable.

      The language in Paragraph 4 of Defendants’ proposed protective order should

be adopted because it reasonably acknowledges that any Party may object to the

confidentiality of information made public by lawful means. Given the nature of this

lawsuit, Defendants drafted this language to ensure that reliance on unlawfully

obtained information is discouraged.

      The language in Paragraph 5 of Defendants’ proposed protective order should

be adopted because it reasonably affords all Parties an opportunity to review

information acquired from third parties such that all Parties can determine whether

any confidentiality designations are necessary. Defendants drafted this language to

conform with common practice and to facilitate a cooperative and efficient discovery

process.

      The language in Paragraph 6 of Defendants’ proposed protective order should

be adopted because it reasonably requires that individuals permitted to review

information designated as confidential must agree to the terms of the protective

order, including that they may only use such information for purposes of this lawsuit.



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Defendants drafted this language to conform with common practice and to facilitate

a cooperative and efficient discovery process, as well as to ensure, as discussed above,

that Plaintiff does not utilize this action as a discovery tool for its other pending

matters.

      The language in Paragraph 14 should be adopted because it ensures that any

third parties subpoenaed in this action are aware of the confidentiality protective

order in place. Defendants drafted this language to conform with common practice

and to facilitate a cooperative and efficient discovery process.

      Therefore, for the foregoing reasons, Defendants request that this Court adopt

the language set forth in Defendants’ proposed protective order, attached as Exhibit

A to the Motion.

                                   CONCLUSION

      For the foregoing reasons, Defendants respectfully move this Court for entry

of a protective order, in the form of the proposed protective order attached as Exhibit

A to the Motion, and any further relief as necessary and equitable.




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 Respectfully submitted, this the 23rd day of December, 2022.

                                       NELSON MULLINS RILEY &
                                        SCARBOROUGH, LLP

                                By:    /s/ Brandon S. Neuman________
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                          CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of December, 2022, I electronically filed
the foregoing document with the Clerk of the Court using the CM/ECF system, which
will send electronic notification of filing to the following:

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4874-6429-2933




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